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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


   SUFFOLK COUNTY WATER AUTHORITY,                     THIRD-PARTY COMPLAINT

                        Plaintiff,                     Case No.: 2:17-cv-06980-NG-RLM
                 v.

   THE DOW CHEMICAL COMPANY, FERRO
   CORPORATION, VULCAN MATERIALS
   COMPANY, PROCTER & GAMBLE COMPANY,
   SHELL OIL COMPANY, individually and doing
   business as SHELL CHEMICAL LP,

                        Defendants.


   THE DOW CHEMICAL COMPANY, FERRO
   CORPORATION, and VULCAN MATERIALS
   COMPANY,

                        Third-Party Plaintiffs,
                 v.

   120MARCUS REALTY LLC, 5 CUBA HILL
   OWNER LLC, 550 LIBERTY PLAZA LLC,
   AIRPORT PLAZA, LLC, ANTHONY ANTONIOU,
   ANWAR CHITAYAT AS TRUSTEE OF THE
   ANWAR CHITAYAT ENVIRONMENTAL
   TRUST, CRESCENT GROUP REALTY INC.,
   EMPIRE PROPERTIES LI LLC, FED 717-725
   LLC, FGG REALTY ASSOCIATES, LLC, GSM
   717-725 LLC, ICA 717-725 LLC, MAKO
   PROPERTIES, LLC, OMEGA MELVILLE LLC,
   ONE ADAMS OWNER LLC, SAF 717-725 LLC,
   STEEL FOREST, LLC, THE SUFFOLK COUNTY
   LANDBANK CORPORATION, TOWN OF
   BABYLON, and TOWN OF ISLIP,

                        Third-Party Defendants.


                Defendants/Third-Party Plaintiffs The Dow Chemical Company (“Dow”), Ferro

  Corporation (“Ferro”), and Legacy Vulcan, LLC (formerly known as Vulcan Materials
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  Company) (“Vulcan”) (collectively, “Third-Party Plaintiffs”), by and through their attorneys, for

  their Third-Party Complaint against 120Marcus Realty LLC (“120Marcus”), 5 Cuba Hill Owner

  LLC (“5 Cuba”), 550 Liberty Plaza LLC (“550 Liberty”), Airport Plaza, LLC (“Airport Plaza”),

  Anthony Antoniou, Anwar Chitayat as Trustee of the Anwar Chitayat Environmental Trust

  (“Anwar Chitayat Trust”), Crescent Group Realty Inc. (“Crescent Group Realty”), Empire

  Properties LI LLC (“Empire Properties”), FED 717-725 LLC, FGG Realty Associates, LLC

  (“FGG Realty”), GSM 717-725 LLC, ICA 717-725 LLC, Mako Properties, LLC (“Mako”),

  Omega Melville LLC (“Omega”), One Adams Owner LLC (“One Adams”), SAF 717-725 LLC,

  Steel Forest, LLC (“Steel Forest”), The Suffolk County Landbank Corporation (“Suffolk County

  Landbank”), the Town of Babylon, and the Town of Islip (collectively, “Third-Party

  Defendants”), allege:

                                               PARTIES

                 1.       Suffolk County Water Authority (“SCWA”) is a public benefit corporation

  and public drinking water provider. It claims to service approximately 1.2 million customers in

  Suffolk County, New York through municipal supply wells that draw from the Long Island

  Aquifer System.

                 2.       Dow is a Delaware corporation with its principal office in Midland,

  Michigan.

                 3.       Ferro is an Ohio corporation with its principal office in Mayfield Heights,

  Ohio.

                 4.       Vulcan is a Delaware limited liability company with its principal office in

  Birmingham, Alabama.

                 5.       120Marcus is a New York limited liability company.




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                6.      5 Cuba is a Delaware limited liability company.

                7.      550 Liberty is a New York limited liability company.

                8.      Airport Plaza is a Delaware limited liability company.

                9.      Anthony Antoniou is an individual in Lindenhurst, New York.

                10.     Anwar Chitayat is the trustee of the Anwar Chitayat Trust, with an address

  in Delray Beach, Florida.

                11.     Crescent Group Realty is a New York corporation.

                12.     Empire Properties is a New York limited liability company.

                13.     FED 717-725 LLC, GSM 717-725 LLC, ICA 717-725 LLC, and SAF

  717-725 LLC (the “717-725 LLCs”) are Delaware limited liability companies.

                14.     FGG Realty is a New York limited liability company.

                15.     Mako is a New York limited liability company.

                16.     Omega is a New York limited liability company.

                17.     One Adams is a New York limited liability company.

                18.     Steel Forest is a Delaware limited liability company.

                19.     Suffolk County Landbank is an entity organized under the New York

  Land Bank Act, Article 16 of the New York Not-for-Profit Corporation Law.

                20.     The Town of Babylon is a New York municipal corporation.

                21.     The Town of Islip is a New York municipal corporation.

                                 JURISDICTION AND VENUE

                22.     This Court has jurisdiction pursuant to 28 U.S.C. § 1367(a).




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                   23.   Venue is proper in the Eastern District of New York pursuant to 28 U.S.C.

  § 1391(b)(2) because a substantial part of the alleged events or omissions giving rise to this case

  occurred in the Eastern District of New York.

                                     CONTRIBUTION CLAIM

                   24.   On November 30, 2017, SCWA commenced this action against Dow,

  Ferro, Vulcan, The Proctor & Gamble Company, and Shell Oil Company. Its Complaint is

  attached as Exhibit A, and is incorporated herein without conceding the truth of its allegations.

  (Dkt. No. 1.)

                   25.   SCWA alleges that Dow, Vulcan, and Ferro manufactured and sold

  1,4-dioxane and/or unspecified 1,1,1-trichloroethane (TCA) products that also contained 1,4-

  dioxane. (Id. ¶¶ 11-13.)

                   26.   These TCA products, according to the Complaint, were “released at

  various locations, at various times, and in various amounts onto the lands and/or water in the

  vicinity of Plaintiff’s drinking water production wells.” (Id. ¶ 53.)

                   27.   According to the Complaint, 1,4-dioxane is a constituent of TCA, and

  TCA releases into the environment “necessarily” include the release of 1,4-dioxane “into the

  environment.” (Id. ¶¶ 12, 29.)

                   28.   The Complaint also alleges these releases of TCA are a “major source” of

  existing and threatened 1,4-dioxane contamination in SCWA’s supply wells. (Id. ¶¶ 34, 35.)

                   29.   More specifically, SCWA claims that because of “1,4 dioxane’s high

  mobility and persistence in soil and groundwater,” past releases of TCA or other “products

  containing 1,4-dioxane” are a continuing source of 1,4-dioxane contamination in SCWA’s wells.

  (Id. ¶¶ 3, 34)




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                 30.      County records show 120Marcus’ ownership of property located at 120

  Marcus Boulevard, Deer Park, New York 11729, which is located in an area of documented

  contamination that government agencies refer to as the “SMS Instruments Site.”

                 31.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the SMS Instruments Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)

                 32.      County records show 5 Cuba’s ownership of property located at 5 Cuba

  Hill Road, Greenlawn, New York 11740, which is located in an area of documented

  contamination that government agencies refer to as the “Hazeltine Site.”

                 33.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Hazeltine Site. According to SCWA’s

  allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with this TCA.

  (Id. ¶ 29.)

                 34.      County records show 550 Liberty’s ownership of property located at 550

  Suffolk Avenue, Brentwood, New York 11717, which is located in an area of documented

  contamination that government agencies refer to as the “Liberty Industrial Finishing Site.”

                 35.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Liberty Industrial Finishing Site. According

  to SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)




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                 36.      County records show the 717-725 LLCs’ ownership of properties located

  at 717 and 725 Broadway Avenue, Holbrook, New York 11741, which are located in an area of

  documented contamination that government agencies refer to as the “Goldisc Recording Site.”

                 37.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Goldisc Recording Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)

                 38.      County records show Airport Plaza’s ownership of property located at

  1000 Conklin Street, Farmingdale, New York 11735, which is located in an area of documented

  contamination that government agencies refer to as the “Fairchild Republic Site.”

                 39.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Fairchild Republic Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)

                 40.      County records show Anthony Antoniou’s ownership of property located

  at 666 Albany Avenue, North Amityville, New York 11701, which is located in an area of

  documented contamination that government agencies refer to as the “AMW Materials Site.”

                 41.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the AMW Materials Site. According to SCWA’s

  allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with this TCA.

  (Id. ¶ 29.)




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                 42.      County records show Anwar Chitayat Trust’s ownership of property

  located at 100 Oser Avenue, Hauppauge, New York 11788, which is located in an area of

  documented contamination that government agencies refer to as the “100 Oser Site.”

                 43.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the 100 Oser Site. According to SCWA’s

  allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with this TCA.

  (Id. ¶ 29.)

                 44.      County records show Crescent Group Realty’s ownership of property

  located at 1305 South Strong Avenue, Copiague, New York 11726, which is located in an area of

  documented contamination that government agencies refer to as the “Levey Property Site.”

                 45.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Levey Property Site. According to SCWA’s

  allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with this TCA.

  (Id. ¶ 29.)

                 46.      County records show Empire Properties’ ownership of property located at

  50 Dale Street, West Babylon, New York 11704, which is located in an area of documented

  contamination that government agencies refer to as the “Spectrum Finishing Site.”

                 47.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Spectrum Finishing Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)




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                 48.      County records show FGG Realty’s ownership of property located at 82

  Milbar Boulevard, Farmingdale, New York 11735, which is located in an area of documented

  contamination that government agencies refer to as the “Circuitron Site.”

                 49.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Circuitron Site. According to SCWA’s

  allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with this TCA.

  (Id. ¶ 29.)

                 50.      County records show Mako’s ownership of properties located at 48-50

  Enter Lane, Islandia, New York 11749, which is located in an area of documented contamination

  that government agencies refer to as the “48-50 Enter Lane Site.”

                 51.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the 48-50 Enter Lane Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)

                 52.      County records show Omega’s ownership of property located at 25

  Melville Park Road, Melville, New York 11747, which is located in an area of documented

  contamination that government agencies refer to as the “New York Twist Drill Site.”

                 53.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the New York Twist Drill Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)




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                 54.      County records show One Adams’ ownership of property located at One

  Adams Boulevard, Farmingdale, NY 11735, which is located in an area of documented

  contamination that government agencies refer to as the “National Heatset Site.”

                 55.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the National Heatset Site. According to SCWA’s

  allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with this TCA.

  (Id. ¶ 29.)

                 56.      County records show Steel Forest’s ownership of property located at 500

  Commack Road, Commack, NY 11725, which is located in an area of documented

  contamination that government agencies refer to as the “Forest Laboratories Site.”

                 57.      Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Forest Laboratories Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)

                 58.      County records show Suffolk County Landbank’s ownership of property

  located on Old Northport Road, Kings Park, New York 11754, which is located in an area of

  documented contamination that government agencies refer to as the “Steck & Philbin Site.”

                 59.      Publicly available reports confirm government investigations have

  detected 1,4-dioxane in the soil and/or groundwater at the Steck & Philbin Site.

                 60.      County records show Town of Babylon’s ownership of a landfill property

  located on Gleam Street, West Babylon, New York 11704, which is located in an area of

  documented contamination that government agencies refer to as the “Babylon Landfill Site.”




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                   61.    Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Babylon Landfill Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)

                   62.    County records show Town of Islip’s ownership of a landfill property

  located on Udall Road, Brentwood, New York 11717, which is located in an area of documented

  contamination that government agencies refer to as the “Sonia Road Landfill Site.”

                   63.    Publicly available reports confirm government investigations have

  detected TCA in the soil and/or groundwater at the Sonia Road Landfill Site. According to

  SCWA’s allegations, 1,4-dioxane is a constituent of TCA, and was “necessarily” released with

  this TCA. (Id. ¶ 29.)

                   64.    The SMS Instruments Site, Hazeltine Site, Liberty Industrial Finishing

  Site, Goldisc Recording Site, Fairchild Republic Site, AMW Materials Site, 100 Oser Site, Levey

  Property Site, Spectrum Finishing Site, Circuitron Site, 48-50 Enter Lane Site, New York Twist

  Drill Site, National Heatset Site, Forest Laboratories Site, Steck & Philbin Site, Babylon Landfill

  Site, and Sonia Road Landfill Site (collectively, the “Sites”) are located “in the vicinity of

  Plaintiff’s drinking water production wells.” (Id. ¶ 53.)

                   65.    SCWA’s operation of its production wells draws groundwater (and any

  associated contaminants) from the Sites into SCWA’s wells.

                   66.    As the owners of the Sites where 1,4-dioxane and/or TCA have been

  detected, Third-Party Defendants knew or should have known of the existence of 1,4-dioxane

  contamination on their properties, and had a reasonable opportunity to abate the migration of the

  contamination.




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                 67.       Third-Party Defendants have a duty to abate the migration of 1,4-dioxane

  from their properties, and otherwise prevent contaminants that exist on their properties from

  causing the damage, nuisance, or trespass for which SCWA has sued Dow, Vulcan, and Ferro.

  (Id. ¶¶ 69-77, 87-97.)

                 68.       While continuing to deny liability, if Dow, Vulcan, and/or Ferro are found

  liable for damage to SCWA’s wells, then they are entitled to a judgment of contribution against

  Third-Party Defendants for all or part of any liability associated with such a finding because

  Third-Party Defendants’ acts and omissions, including their failure to properly abate the

  presence and migration of 1,4-dioxane at the Sites, are, to the extent SCWA is able to

  successfully prove its allegations, the direct and proximate cause of the nuisance SCWA alleges

  in its Complaint.

                 69.       While continuing to deny liability, if Dow, Vulcan, and/or Ferro are found

  liable for damage to SCWA’s wells, then they are entitled to a judgment of contribution against

  Third-Party Defendants for all or part of any liability associated with such a finding because

  Third-Party Defendants’ negligent acts and omissions, including their failure to properly abate

  the presence and migration of 1,4-dioxane at the Sites, are, to the extent SCWA is able to

  successfully prove its allegations, the direct and proximate cause of the damages SCWA alleges

  in its Complaint.

                 70.       While continuing to deny liability, if Dow, Vulcan, and/or Ferro are found

  liable for damage to SCWA’s wells, then they are entitled to a judgment of contribution against

  Third-Party Defendants for all or part of any liability associated with such a finding because

  Third-Party Defendants’ intentional acts and omissions, including their failure to properly abate

  the presence and migration of 1,4-dioxane at the Sites, are, to the extent SCWA is able to




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  successfully prove its allegations, the direct and proximate cause of the continuing unauthorized

  intrusion and continuing trespass SCWA alleges in its Complaint.

                 71.      Article 14 of the New York Civil Practice Law and Rules permits

  tortfeasors liable for damages for the same injuries to the Plaintiff to claim contribution against

  each other, even when the Plaintiff has not sued one or more of those tortfeasors.

                 WHEREFORE, Defendants/Third-Party Plaintiffs demand judgment against

  Third-Party Defendants, awarding Defendants/Third-Party Plaintiffs:

                 1. Damages in an amount to be determined at trial, representing contribution for

                       the portion of any judgment obtained by Plaintiff against Defendants/Third-

                       Party Plaintiffs determined to be the liability of Third-Party Defendants; and

                 2. Such other relief the Court deems just and equitable.




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   Dated: August 30, 2021


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